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                                  4                                 UNITED STATES DISTRICT COURT

                                  5                             NORTHERN DISTRICT OF CALIFORNIA

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                                  7      BRUCE HORTI, et al.,
                                                                                         Case No. 21-cv-09812-PJH
                                  8                   Plaintiffs,

                                  9             v.                                       JUDGMENT
                                  10     NESTLE HEALTHCARE NUTRITION,
                                         INC.,
                                  11
                                                      Defendant.
                                  12
Northern District of California
 United States District Court




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                                  14         The issues having been duly heard and the court having granted defendant’s

                                  15   motion to dismiss the complaint with prejudice,

                                  16         it is Ordered and Adjudged

                                  17         that plaintiffs take nothing, and that the action is dismissed with prejudice.

                                  18         IT IS SO ORDERED.
                                  19   Dated: November 7, 2022

                                  20                                               /s/ Phyllis J. Hamilton
                                                                                   PHYLLIS J. HAMILTON
                                  21                                               United States District Judge
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